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11
                              UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                    WESTERN DIVISION
14
      UNITED STATES OF AMERICA,                 NO. 2:20-cv-04500
15
                 Plaintiff,                     VERIFIED COMPLAINT FOR
16                                              FORFEITURE
                 v.
17
      $178,200 in U.S. Currency;         [H.S.I.]
18    12.28 Bitcoins; Various Parts and
      Equipment; and $699,152.72 in Bank
19    Funds from Wells Fargo account
      ending in 3585, $201,282.25 in
20    Bank Funds from Wells Fargo
      account ending in 6819,
21    $100,059.84 in Bank Funds from
      Wells Fargo account ending in
22    7800, $81,068.07 in Bank Funds
      from Wells Fargo account ending in
23    1119, $70,386.75 in Bank Funds
      from Wells Fargo account ending in
24    4809, and $33,811.02 in Bank Funds
      from Wells Fargo account ending in
25    6465,

26               Defendants.
27

28   / / /
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1          The United States of America brings this claim against the

2    defendant assets, more particularly described below, and alleges as

3    follows:

4                                JURISDICTION AND VENUE
5          1.    This is a civil forfeiture action brought pursuant to 18

6    U.S.C. § 981(a)(1)(A) and (C).

7          2.    This Court has jurisdiction over the matter under 28 U.S.C.

8    §§ 1345 and 1355.

9          3.    Venue lies in this District pursuant to 28 U.S.C.

10   § 1395(a).

11                                PERSONS AND ENTITIES
12         4.    The plaintiff is the United States of America (“plaintiff”

13   or the “government”).

14         5.    The defendant assets (collectively, the “defendants”) are:

15               a.   $178,200 in U.S. currency (the “defendant currency”);

16               b.   one box of cellphone parts;

17               c.   two bags of cellphone parts;

18               d.   approximately 600 flex cables;

19               e.   approximately 11 screens;

20               f.   approximately 2,040 screens;

21               g.   approximately 17 screens;

22               h.   approximately 31 demo units;

23               i.   approximately 41,451 batteries;

24               j.   approximately 2,431 OCTA screens (collectively, the

25   “defendant parts”);

26               k.   12.28 Bitcoins (the “defendant cryptocurrency”);

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1                l.   $699,152.72 in Bank Funds from a Wells Fargo account

2    with the last four digits ending in 3585 (“WF 3585 Account”) and held

3    in the name of Gadgetfix Corporation;

4                m.   $201,282.25 in Bank Funds from a Wells Fargo account

5    with the last four digits ending in 6819 (“WF 6819 Account”) and held

6    in the name of Chan Le and Thuy Tang;

7                n.   $100,059.84 in Bank Funds from a Wells Fargo account

8    with the last four digits ending in 7800 (“WF 7800 Account”) and held

9    in the name of Tang and Huong Thu Thi Bien;

10               o.   $81,068.07 in Bank Funds from a Wells Fargo account

11   with the last four digits ending in 1119 (“WF 1119 Account”) and held

12   in the name of Fix2Save, Inc.;

13               p.   $70,386.75 in Bank Funds from a Wells Fargo account

14   with the last four digits ending in 4809 (“WF 4809 Account”) and held

15   in the name of EZ Elektronix Corporation; and

16               q.   $33,811.02 in Bank Funds from a Wells Fargo account

17   with the last four digits ending in 6465 (“WF 6465 Account”) and held

18   in the name of EZ Elektronix Corp (collectively the “defendant bank

19   funds”).

20   The defendant currency and defendant parts were seized on or about

21   April 16, 2019 by Special Agents of Immigration and Customs

22   Enforcement, Homeland Security Investigations (“HSI”), during the

23   course of the execution of federal search warrants at the residence

24   of Chan Hung Le (“Le”) in Orange County, California, in the Central

25   District of California.      The defendant bank funds were seized on

26   April 24, 2019 when HSI agents executed a federal seizure warrant
27   from Wells Fargo.     The defendant cryptocurrency was seized on June 6,

28   2019 when HSI agents executed a federal search warrant.

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1          6.    The defendant bank funds and defendant currency are

2    currently in the custody of United States Customs and Border

3    Protection in this District, where they will remain subject to this

4    Court’s jurisdiction during the pendency of this action.            The

5    defendant parts are currently in the custody of Homeland Security

6    Investigations in this District, where they will remain subject to

7    this Court’s jurisdiction during the pendency of this action.             The

8    defendant cryptocurrency is currently in the custody of the US

9    Marshals Service in this District, where they will remain subject to

10   this Court’s jurisdiction during the pendency of this action.

11         7.    The interests of Chan Le, Thuy Tang, Huong Thu Thi Bien,

12   Gadgetfix Corporation, EZ Elektronix Corp, EZ Elektronix Corporation,

13   and Fix2Save, Inc. may be adversely affected by these proceedings.

14                            FACTS SUPPORTING FORFEITURE
15         8.    Le bought, sold, and imported electronics parts under the

16   business names “EZ Elektronix,” “Wholesale Gadgetfix,” “Gadgetfix

17   Corp.,” “Gadget Parts Direct,” “US Mobile Parts,” “Pac Depot,” and

18   “Fix2save Inc.,” as well as the fictitious names “JV Trading

19   Solutions” and “JVU Unlock.”       Le primarily sold these parts via

20   various storefronts on eBay and on a website found at

21   https://gadgetfix.com.

22         9.    Le resided with Tang, a person whom he referred to as his

23   wife, and who also was employed in Le’s businesses.

24         10.   Le and Tang maintained four bank accounts at Wells Fargo

25   Bank, the WF 3585 Account, WF 6465 Account, WF 4809, and the WF 1119

26   Account (collectively the “Wells Fargo Business Accounts”).
27         11.   Le and Tang also maintained two additional accounts at

28   Wells Fargo Bank, the WF 6819 Account and WF 7800 Account (together,

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1    the “Wells Fargo Personal Accounts”). WF 6819 Account was held in

2    Le’s and Tang’s names; WF 7800 Account was held in Tang’s and Tang’s

3    mother’s (Bien) names.

4          12.   Hongwei Du, also known as “Nick Du” (“Du”) was a citizen of

5    the People’s Republic of China (“China”), residing in China. Du

6    operated a company named Saduan Industrial Co., Limited (“Saduan”),

7    later renamed Honape Industrial Co., Limited (“Honape”), a company

8    registered in Hong Kong that exported electronics parts.

9          13.   A List Technology (H.K.) Co. Ltd. (“A List”) was a company

10   registered in Hong Kong and based in Shenzhen, China, that exported

11   electronics parts.

12         14.   Mobile Communication Parts (H.K.) Development Co. Ltd.

13   (“Mobile Communications”) was a company registered in Hong Kong and

14   based in Shenzhen, China, that exported electronics parts.

15                               The Law of Trademarks

16         15.   A “trademark” is a word, phrase, symbol or design, or a

17   combination thereof, which identifies and distinguishes the source of

18   the goods of one particular manufacturer from those of other

19   manufacturers. A trademark is often a valuable asset, equated with

20   the “goodwill” of a business organization, which can influence

21   consumers in purchasing decisions. A “word mark,” “standard character

22   mark,” “design mark,” and “mark drawing” are types of trademarks.

23   Trademarks are registered for use in connection with particular types

24   of goods or services.

25         16.   A trademark serves a variety of purposes. First, it avoids

26   product confusion by allowing consumers to have confidence that two
27   products for sale bearing the identical trademark were manufactured

28   by the same company and will be of the same quality. Second, it

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1    permits consumers to make an informed choice to purchase a name-brand

2    good based upon past experience, word-of-mouth, brand loyalty, and

3    advertising impact. Third, it enables consumers who experience a

4    problem with the name-brand product they have purchased to seek

5    recourse through the actual manufacturer by returning the goods to

6    the seller or seeking warranty or other recourse through the

7    manufacturer. Fourth, it allows the trademark owner to distinguish

8    and protect its products by giving that company exclusive rights as

9    the trademark owner. This permits the legitimate trademark owner to

10   recoup investments of time, money, labor, and creativity and to

11   profit from its endeavors in bringing a particular product to market.

12         17.   A counterfeit mark is: (a) a spurious mark used in

13   connection with trafficking in goods; (b) that was identical with, or

14   substantially indistinguishable from, a mark registered for those

15   goods or services on the principal register in the U.S. Patent and

16   Trademark Office, and in use, whether or not the defendant knew such

17   mark was so registered; (c) that was applied to or used in connection

18   with the goods or services for which the mark was registered; and (d)

19   the use of which was likely to cause confusion or mistake, or to

20   deceive.

21         18.   Apple, Samsung, and Motorola were all companies that

22   manufactured and sold cellular telephone and/or tablet hardware. The

23   United States Patent and Trademark Office had registered on its

24   principal register a number of trademarks for each company, including

25   the following, all of which were in use at all times relevant to this

26   Complaint:
27               a.   Trademark number 2,715,578, which registered the Apple

28   logo design mark for use in connection with computer hardware and

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1    software of a wide variety, including handheld and mobile computers

2    and peripherals;

3                b.   Trademark number 3,679,056, which registered the Apple

4    logo design mark for use in connection with, among other things,

5    handheld mobile digital electronic devices and related items;

6                c.   Trademark number 3,928,818, which registered the Apple

7    standard character mark for use in connection with computer hardware

8    and software of a wide variety, as well as handheld mobile digital

9    electronic devices and related items, including batteries;

10               d.     Trademark number 3,669,402, which registered the

11   iPhone standard character mark for use in connection with handheld

12   mobile digital electronic devices;

13               e.     Trademark number 2,214,833, which registered the

14   Samsung design/word mark for use in connection with computer hardware

15   of a wide variety, as well as mobile phones, components, and

16   accessories;

17               f.   Trademark number 2,882,774, which registered the

18   Samsung stylized word mark for use in connection with computer

19   hardware of a wide variety, as well as mobile phones, components, and

20   batteries;

21               g.   Trademark number 2,929,519, which registered the

22   Samsung typed drawing word mark for use in connection with computer

23   hardware of a wide variety, as well as mobile phones, components, and

24   batteries;

25               h.   Trademark number 2,929,523, which registered the

26   Samsung design/word mark for use in connection with computer hardware
27   of a wide variety, as well as mobile phones, components, and

28   batteries;

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1                 i.    Trademark number 4,792,754, which registered the

2    Samsung standard character mark for use in connection with computer

3    hardware and software of a wide variety, as well as mobile phones,

4    components, and related items;

5                 j.    Trademark number 4,792,755, which registered the

6    Samsung design/word mark for use in connection with computer hardware

7    and software of a wide variety, as well as mobile phones, components,

8    and related items; and

9                 k.    Trademark number 1,680,185, which registered the

10   Motorola design/word mark and an associated symbol for use in

11   connection with communications apparatuses of a wide variety,

12   including cellular telephones and accessories.

13         19.    A “counterfeit product,” for purposes of this complaint, is

14   a cellular telephone component, tablet component, or other electronic

15   device component bearing one or more counterfeit marks, to wit, marks

16   identical with or substantially indistinguishable from one or more of

17   the above-described trademarks registered by Apple, Samsung, or

18   Motorola. The counterfeit marks were each likely to cause confusion

19   or mistake, or to deceive.

20               Conspiracy to Commit Fraud Against the United States,

21                     Engage in Illegal Importation, and Traffic

22                                in Counterfeit Goods

23         20.    Beginning on a date unknown but prior to June 1, 2010, and

24   continuing to on or about April 16, 2019, in Los Angeles and Orange

25   Counties, within the Central District of California, and elsewhere,

26   Le, Du, and others known and unknown, knowingly conspired and agreed
27   with each other to:

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1                a.   defraud the United States and an agency thereof by

2    obstructing the lawful functions of United States Customs and Border

3    Protection (“CBP”) by deceitful and dishonest means, in violation of

4    Title 18, United States Code, Section 371;

5                b.   intentionally traffic in counterfeit goods, in

6    violation of Title 18, United States Code, Section 2320(a); and

7                c.   knowingly and fraudulently import and bring

8    merchandise into the United States contrary to law, in violation of

9    Title 18, United States Code, Section 545.

10         21.   The objects of the conspiracy were to be accomplished, in

11   substance, as follows:

12               a.   Le would arrange with his suppliers based in China,

13   including Du and others, including persons employed by A List and

14   Mobile Communications (collectively, the “Chinese suppliers”), to

15   purchase counterfeit components and accessories for cellular

16   telephones, tablets, and other electronic devices.

17               b.   The Chinese suppliers would package the counterfeit

18   goods, sometimes mixing them with non-trademarked items, and

19   sometimes covering the trademarks with black tape, marker, or similar

20   material, so that a quick inspection of the items would not reveal

21   the trademark.

22               c.   The Chinese suppliers, at Le’s direction, would

23   arrange shipment to the United States from China via DHL or FedEx,

24   and would place various different company or individual names on the

25   packages so as to avoid attention from Chinese and United States

26   customs authorities.
27               d.   Le would set up mail receiving and forwarding accounts

28   with mail service providers in locations outside California,

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1     including Oklahoma and Texas, using fictitious business names and the

2     means of identification of one of his employees, J.V., so that the

3     shipments would not be associated with Le or his identified

4     businesses.

5                 e.   Le would direct the Chinese suppliers to send packages

6     containing counterfeit items to these mail service providers so that

7     the packages would not go through the Port of Los Angeles and be

8     inspected by CBP officers there.        Le would also direct the Chinese

9     suppliers to put different recipient names and addresses on packages

10    imported into the United States so as to avoid detection by customs

11    authorities in China and the United States, including the names of

12    his employees J.V. and M.N., and Tang and Tang’s mother, Bien.

13                f.   Once the packages arrived at the mail service

14    providers, Le and employees acting at his direction would instruct

15    the mail service providers to forward the packages to locations in

16    California where Le could retrieve them.

17                g.   Sometimes, defendant Le would ask the Chinese

18    suppliers to change the address on the shipments of the counterfeit

19    goods as soon as the packages had cleared United States customs, so

20    that the packages would be immediately re-routed to him in

21    California.

22                h.   Le would sell the counterfeit items he received from

23    his co-conspirators via his storefronts on eBay and to individuals

24    who came to his warehouse location.

25                i.   Le would advertise that he sold brand-name, new,

26    genuine and/or “OEM” (original equipment manufacturer) consumer
27    electronics components and accessories, and would list various

28    trademarked brands and the items he had available for each, without

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1     indicating that the goods were counterfeit and not authorized by the

2     companies whose names and trademarks he used in advertisements and

3     that appeared on the goods and packaging.

4                 j.   Le would receive payments from PayPal into the Wells

5     Fargo Business Accounts for the items he sold on eBay.

6           22.   Le and/or Tang would periodically wire transfer payments

7     from the Wells Fargo Business Accounts in the United States to

8     accounts in Hong Kong controlled by the Chinese suppliers to pay for

9     multiple shipments at a time, usually in round-dollar quantities.

10          23.   In furtherance of the conspiracy and to accomplish its

11    objects, Le, Du, and others committed various acts on or about the

12    following dates, in Los Angeles and Orange Counties, within the

13    Central District of California, and elsewhere, including but not

14    limited to the following:

15                a.   In or around June and July 2010, Le imported from

16    China and Hong Kong approximately 755 counterfeit Apple iPhone LCD

17    screens in three shipments, without declaring the true contents of

18    the packages to CBP.

19                b.   On or about September 21, 2011, Le told a Westminster

20    Police Department Detective, acting in an undercover capacity (the

21    “UC”), that the UC could come to Le’s business location in

22    Westminster, California, to pick up cellular telephone parts.

23                c.   On or about September 27, 2011, Le sold the UC three

24    counterfeit Apple iPhone back covers, on which the "Apple" and

25    “iPhone” logos had been covered with small strips of black tape.

26                d.   On or about October 18, 2011, Le possessed at his
27    business location in Westminster, California, approximately 7,200

28    counterfeit electronics parts bearing infringing Apple trademarks.

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1                 e.   On or about January 5, 2012, Le sent or caused to be

2     sent a wire transfer from WF 3585 Account to a bank account in Hong

3     Kong controlled by his supplier Mobile Communications, in the amount

4     of $95,000.

5                 f.   On or about January 10, 2012, Le imported from China,

6     under Tang’s name, approximately 200 counterfeit cellular telephone

7     parts bearing infringing Motorola trademarks, along with various

8     other counterfeit cellular telephone parts, on most of which small

9     pieces of black tape obscured the trademarks, without declaring the

10    true contents to CBP and without identifying himself as the importer

11    of record.

12                g.   On or about January 17, 2012, Le sent or caused to be

13    sent a wire transfer from WF 4809 Account to a bank account in Hong

14    Kong controlled by his supplier A List in the amount of $99,000.

15                h.   On or about February 15, 2012, Le possessed at his

16    business location in Westminster, California, approximately 11,000

17    counterfeit electronics parts bearing various infringing trademarks.

18                i.   On or about February 15, 2012, Le sent or caused to be

19    sent a wire transfer from WF 3585 Account to a bank account in Hong

20    Kong controlled by his supplier Saduan in the amount of $80,000.

21                j.   On or about March 1, 2012, Le imported six packages

22    containing approximately 3,795 counterfeit cellular telephone parts,

23    with small strips of black tape covering the brand and/or logo on

24    each part, without declaring the true contents to CBP.

25                k.   On or about March 23, 2012, Le registered a new

26    business name with the State of California, “Pac-Depot, Inc.,” in the
27    name of Tang’s mother, listing himself as Chief Executive Officer.

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1                 l.   On or about April 24, 2012, Le, using the name and

2     identification documents of J.V., opened accounts with mail receiving

3     and forwarding businesses in Weatherford, Oklahoma, and Greenville,

4     Texas for a fictitious business, “JV Trading Solutions.”

5                 m.   On or about January 11, 2013, Le sent or caused to be

6     sent a wire transfer from WF 3585 Account to a bank account in Hong

7     Kong controlled by his supplier A List in the amount of $90,000.

8                 n.   On or about January 14, 2013, Le sent or caused to be

9     sent a wire transfer from WF 4809 Account to a bank account in Hong

10    Kong controlled by his supplier Mobile Communications in the amount

11    of $90,000.

12                o.   On or about April 8, 2013, Le sent or caused to be

13    sent a wire transfer from WF 6465 Account to a bank account in Hong

14    Kong controlled by his supplier Saduan in the amount of $50,000.

15                p.   On or about April 10, 2013, Le told Du via a chat

16    application to stop shipment on an order of Sony-branded components

17    because they should not be sent directly to California because they

18    contained infringing trademarks.

19                q.   On or about May 7, 2013, Du sent Le a picture of an

20    iPhone 5 digitizer assembly, and told Le that the assemblies Du had

21    for sale were copies, but the display was the same as “original new”

22    components.

23                r.   On or about June 12, 2013, Le, using an email account

24    in the name of J.V., asked the mail receiving and forwarding business

25    in Weatherford, Oklahoma, to let him know how much it would cost to

26    forward the packages arriving that day for JV Trading Solutions to
27    California via FedEx Overnight and via FedEx 2-day delivery.

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1                 s.   On or about June 25, 2013, Le told Du via a chat

2     application to stop a package containing Motorola components being

3     sent to California, because U.S. Customs would seize the package.

4                 t.   On or about June 26, 2013, Le told Du via a chat

5     application that Du could call DHL as soon as a package containing

6     iPhone components destined for Oklahoma cleared customs, and change

7     the address to California, so that Le could get the package faster.

8                 u.   On or about December 3, 2013, Le asked Du via a chat

9     application why Du’s shipment to Oklahoma was so slow.            When Du

10    responded that that was the fastest shipping channel since the goods

11    had "logo," Le said that goods from his supplier from A List took the

12    same amount of time, whether going to California or Oklahoma.

13                v.   On or about December 30, 2013, Le sent or caused to be

14    sent a wire transfer from WF 3585 Account to a bank account in Hong

15    Kong controlled by his supplier A List in the amount of $200,000.

16                w.   On or about December 30, 2013, Le sent or caused to be

17    sent a wire transfer from WF 4809 Account to a bank account in Hong

18    Kong controlled by his supplier Saduan in the amount of $400,000.

19                x.   On or about February 11, 2014, Le told Du via a chat

20    application to use the names of his employees, J.V. and M.N., on

21    packages being sent to Oklahoma so as to evade weight limits imposed

22    by shipping agents.

23                y.   On or about April 1, 2014, Le told Du via a chat

24    application to split up a shipment, and to send adapters with

25    infringing trademarks to Oklahoma and cables without marks to

26    California.
27                z.   On or about April 1, 2014, Le sent or caused to be

28    sent a wire transfer from WF 3585 Account to a bank account in Hong

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1     Kong controlled by his supplier Mobile Communications in the amount

2     of $250,000.

3                 aa.   On or about April 17, 2014, Le told Du via a chat

4     application that he wanted to order the same "copy" Motorola

5     batteries he had ordered previously.

6                 bb.   On or about September 15, 2014, after Du told

7     defendant Le via a chat application that he would divide that day’s

8     shipment in two and send both shipments to Oklahoma, but needed two

9     different names to put on the shipments, Le told Du to use M.N.’s

10    name as the other name.

11                cc.   On or about December 30, 2014, Le sent or caused to be

12    sent a wire transfer from WF 6465 Account to a bank account in Hong

13    Kong controlled by his supplier A List in the amount of $200,000.

14                dd.   On or about January 5, 2015, Le sent or caused to be

15    sent a wire transfer from WF 3585 Account to a bank account in Hong

16    Kong controlled by his supplier Saduan in the amount of $200,000.

17                ee.   On or about February 2, 2015, Du traveled to the

18    United States for meetings with Le and another customer of

19    counterfeit electronics goods.

20                ff.   On or about February 9, 2015, Le possessed at his

21    business location in Lake Forest, California, approximately 148

22    counterfeit electronics parts bearing infringing Apple trademarks and

23    approximately 7,000 counterfeit electronics parts bearing infringing

24    Samsung trademarks.

25                gg.   On or about March 9, 2015, Le sent or caused to be

26    sent a wire transfer from WF 3585 Account to a bank account in Hong
27    Kong controlled by his supplier Mobile Communications in the amount

28    of $75,000.

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1                 hh.   On or about January 5, 2016, Le sent or caused to be

2     sent a wire transfer from WF 3585 Account to a bank account in Hong

3     Kong controlled by his supplier A List in the amount of $90,000.

4                 ii.   On or about January 7, 2016, Le sent or caused to be

5     sent a wire transfer from WF 3585 Account to a bank account in Hong

6     Kong controlled by his supplier Mobile Communications in the amount

7     of $90,000.

8                 jj.   On or about January 3, 2017, Le sent or caused to be

9     sent a wire transfer from WF 6465 Account to a bank account in Hong

10    Kong controlled by his supplier A List in the amount of $90,000.

11                kk.   On or about January 4, 2017, Le sent or caused to be

12    sent a wire transfer from WF 3585 Account to a bank account in Hong

13    Kong controlled by his supplier Mobile Communications in the amount

14    of $99,000.

15                ll.   On or about January 12, 2018, Le sent or caused to be

16    sent a wire transfer from WF 3585 Account to a bank account in Hong

17    Kong controlled by his supplier Mobile Communications in the amount

18    of $99,000.

19                mm.   On or about January 12, 2018, Le sent or caused to be

20    sent a wire transfer from WF 3585 Account to a bank account in Hong

21    Kong controlled by his supplier A List in the amount of $95,000.

22                nn.   On or about May 29, 2018, Le sent or caused to be sent

23    a wire transfer from WF 3585 Account to a bank account in Hong Kong

24    controlled by his supplier Honape in the amount of $200,000.

25                oo.   In or around early November 2018, Le advertised for

26    sale LCD touchscreen digitizers for Samsung Galaxy cellphones,
27    including describing items as “OEM,” “genuine,” and “brand new in

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1     Samsung Service box,” but in fact sold non-genuine and counterfeit

2     parts, and packaged the parts in counterfeit packaging.

3                 pp.   On or about December 27, 2018, Le sent or caused to be

4     sent a wire transfer from WF 3585 Account to a bank account in Hong

5     Kong controlled by his supplier Mobile Communications in the amount

6     of $100,000.

7                 qq.   On or about December 28, 2018, Le sent or caused to be

8     sent a wire transfer from WF 3585 Account to a bank account in Hong

9     Kong controlled by his supplier Honape in the amount of $100,000.

10                rr.   On or about April 16, 2019, Le possessed approximately

11    37,577 counterfeit Apple cellular phone batteries, approximately 600

12    counterfeit Apple cellular phone flex cables, approximately 2,040

13    counterfeit Motorola cellular phone LCD screens, and approximately

14    2,479 counterfeit Samsung cellular phones or phone parts at his

15    warehouse in Irvine, California.

16                             Money Laundering Conspiracy

17          24.   Beginning on a date unknown but prior to June 1, 2010, and

18    continuing to on or about April 16, 2019, in Los Angeles and Orange

19    Counties, within the Central District of California, and elsewhere,

20    Le, Du, and others known and unknown, knowingly conspired and agreed

21    with each other to:

22                a.    conduct one or more financial transactions with the

23    intent to promote the carrying on of unlawful activity, in violation

24    of Title 18, United States Code, Section 1956(a)(1)(A)(i), knowing

25    that property involved in said financial transactions represented the

26    proceeds of some form of unlawful activity, and which property was,
27    in fact, the proceeds of specified unlawful activity, namely (i)

28    trafficking in counterfeit goods, in violation of Title 18, United

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1     States Code, Section 2320(a), and (ii) conspiracy to commit wire

2     fraud and mail fraud, in violation of Title 18, United States Code,

3     Section 1349;

4                 b.   conduct one or more financial transactions, knowing

5     that the transactions were designed in whole and in part to conceal

6     and disguise the nature, the location, the source, the ownership, and

7     the control of said proceeds, in violation of Title 18, United States

8     Code, Section 1956(a)(1)(B)(i), knowing that property involved in the

9     financial transactions represented the proceeds of some form of

10    unlawful activity, and which property was, in fact, the proceeds of

11    specified unlawful activity, namely (i) trafficking in counterfeit

12    goods, in violation of Title 18, United States Code, Section 2320(a),

13    and (ii) conspiracy to commit wire fraud and mail fraud, in violation

14    of Title 18, United States Code, Section 1349;

15                c.   knowingly transport, transmit, and transfer monetary

16    instruments and funds from places in the United States to places

17    outside of the United States with the intent to promote the carrying

18    on of specified unlawful activity, namely (i) trafficking in

19    counterfeit goods, in violation of Title 18, United States Code,

20    Section 2320(a), and (ii) conspiracy to commit wire fraud and mail

21    fraud, in violation of Title 18, United States Code, Section 1349, in

22    violation of Title 18, United States Code, Section 1956(a)(2)(A);and

23                d.   knowingly engaged in one or more monetary transactions

24    involving criminally derived property of a value greater than

25    $10,000, which property represented the proceeds of specified

26    unlawful activity, namely (i) trafficking in counterfeit goods, in
27    violation of Title 18, United States Code, Section 2320(a), and (ii)

28    conspiracy to commit wire fraud and mail fraud, in violation of Title

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1     18, United States Code, Section 1349, in violation of Title 18,

2     United States Code, Section 1957(a).

3           25.   During the relevant period, Le transferred money between

4     and among the Wells Fargo Business Accounts and the Wells Fargo

5     Personal Accounts in order to conceal the nature and source of money

6     by hiding its origin.

7           26.   In furtherance of the money laundering conspiracy and to

8     accomplish its objects, Le, Du, and others known and unknown

9     committed, in addition to the acts alleged above, the following acts,

10    among others, on or about the following dates, in Los Angeles and

11    Orange Counties, within the Central District of California, and

12    elsewhere:

13                a.   On or about January 8, 2018, Le transferred or caused

14    to be transferred approximately $100,000 from WF 6819 Account into WF

15    7800 Account.

16                b.   On or about January 18, 2018, Le transferred or caused

17    to be transferred approximately $100,000 from WF 7800 Account into WF

18    3585 Account.

19                c.   On or about March 28, 2018, Le transferred or caused

20    to be transferred approximately $50,000 from WF 3585 Account into WF

21    7800 Account.

22                d.   On or about April 9, 2018, Le transferred or caused to

23    be transferred approximately $50,000 from WF 3585 Account into WF

24    7800 Account.

25                e.   On or about April 16, 2018, Le transferred or caused

26    to be transferred approximately $140,000 from WF 7800 Account into WF
27    6819 Account.

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1                 f.   On or about April 19, 2018, Le transferred or caused

2     to be transferred approximately $50,000 from WF 3585 Account into WF

3     7800 Account.

4                 g.   In or around June, 2018, Le transferred or caused to

5     be transferred approximately $100,000 from WF 6819 Account into WF

6     3585 Account.

7                 h.   In or around July, 2018, Le transferred or caused to

8     be transferred approximately $75,000 from three of the Wells Fargo

9     Business Accounts (WF 3585 Account, WF 4809 Account, and WF 1119

10    Account) into WF 6819 Account.

11                i.   In or around December 2018, Le received approximately

12    $2,129,708 into WF 3585 Account that represented proceeds of the sale

13    of cellular phone and tablet components.

14                j.   In or around December 2018, Le sent or caused to be

15    sent wire transfers from this same Wells Fargo Business Account (WF

16    3585 Account) to bank accounts in Hong Kong controlled by his

17    suppliers Mobile Communications and Honape totaling approximately

18    $l,000,000.

19                k.   In or around December 2018, Le received approximately

20    $85,105 into WF 6465 Account that represented proceeds of the sale of

21    cellular phone and tablet components.

22                l.   In or around December 2018, Le sent or caused to be

23    sent wire transfers from this same Wells Fargo Business Account (WF

24    6465 Account) to a bank account in Hong Kong controlled by his

25    supplier Mobile Communications totaling approximately $199,000.

26                     Conspiracy to Commit Mail and Wire Fraud
27          27.   Beginning on a date unknown but prior to June 1, 2010, and

28    continuing to on or about April 16, 2019, in Los Angeles and Orange

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1     Counties, within the Central District of California, and elsewhere,

2     Le, Du, and others known and unknown, knowingly conspired and agreed

3     with each other to commit mail fraud, in violation of Title 18,

4     United States Code, Section 1341, and wire fraud, in violation of

5     Title 18, United States Code, Section 1343.

6           28.   Specifically, Le would arrange with his Chinese suppliers

7     to purchase non-branded components and accessories for cellular

8     telephones, tablets, and other electronic devices.           Le would then

9     advertise and sell these components and accessories on his eBay

10    stores as “OEM" or “genuine” parts, when in fact those parts were not

11    manufactured by or for the trademark holders, nor authorized for such

12    manufacture by the trademark holders.

13          29.   Le would also advertise components as being new and

14    packaged in brand-name service boxes, when in fact the packaging for

15    such components was not genuine packaging, and bore counterfeit

16    marks.

17          30.   In furtherance of the conspiracy and to accomplish its

18    objects, Le, Du, and others known and unknown committed, in addition

19    to the acts alleged above, various overt acts on or about the

20    following dates, in Los Angeles and Orange Counties, within the

21    Central District of California, and elsewhere, including but not

22    limited to the following:

23                a.   In or around early November 2018, Le advertised for

24    sale LCD touch screen digitizers for Apple iPhone 7 cell phones,

25    including describing the items as “OEM,” but in fact sold non-genuine

26    parts.
27                b.   In or around early November 2018, Le advertised for

28    sale LCD displays and touch digitizer screen assemblies for Samsung

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1     Galaxy cellphones, describing the items as “OEM,” and “brand new in

2     Samsung Service box,” but in fact sold nongenuine parts, and did not

3     package them in genuine Samsung service boxes.

4                               Aggravated Identity Theft

5           31.   Beginning on an unknown date but prior to January 10, 2012,

6     through on or about April 16, 2019, Le knowingly transferred,

7     possessed, and used, without lawful authority, means of

8     identification that Le knew belonged to other persons during and in

9     relation to the offense of a Conspiracy to Commit Mail Fraud and Wire

10    Fraud, a felony violation of Title 18, United States Code, Section

11    1349, as alleged above.

12          32.   The government alleges that the defendants were derived

13    from, represent proceeds of, or were involved in the violations

14    described hereinabove, rendering them, and each of them, subject to

15    forfeiture to the United States pursuant to 18 U.S.C. § 981(a)(1)(A)

16    and (C).

17                      Execution of April 2019 Search Warrants

18          33.   On April 16, 2019, HSI agents executed federal search

19    warrants at a warehouse associated with Le’s businesses and Le’s

20    residence.    Le was arrested during the execution of the search at the

21    residence.    In addition to the defendant currency, defendant parts,

22    and defendant cryptocurrency seized at the residence, agents

23    recovered over 6,000 counterfeit Apple, Samsung, and Motorola cell

24    phone repair parts and over 41,000 counterfeit Apple and Samsung

25    lithium-ion cell phone batteries during the search of the [Subject

26    Business].
27          34.   Printed packing lists and invoices recovered during the

28    execution of a search warrant on April 16, 2019 from a warehouse

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1     serving all of Le’s businesses indicated Le was still purchasing

2     large volumes of cell phone parts from some of the same suppliers in

3     China and Hong Kong from which he had obtained the counterfeit

4     devices seized by HSI during the 2012 and 2015 search warrants.

5     Import and banking records corroborate that Le imported from some of

6     these suppliers in China on a continuous basis from at least 2012 to

7     2019, despite several law enforcement seizures of counterfeit goods

8     purchased from these suppliers during this time period.

9                           The Related Criminal Prosecution

10          35.   On May 13, 2019, Le was charged in this district in an

11    Information alleging the violations of 18 U.S.C. §§ 371, 1956(h),

12    1349, and 1028A described above.        The Information includes three

13    forfeiture allegations providing notice that, in the event of a

14    conviction, the government will seek the criminal forfeiture of all

15    property, real or personal, constituting or derived from any proceeds

16    of the charged offenses, all property involved in any of the charged

17    money laundering offenses, and any property used or intended to be

18    used to commit the aggravated identity theft offenses charged in the

19    Information, listing the defendant bank funds as specific property

20    sought by the government for criminal forfeiture.           The government

21    filed a first Bill of Particulars on May 7, 2020 (Le, Docket Number
22    65) listing the defendant currency, defendant parts, and defendant

23    cryptocurrency as specific property sought by the government for

24    criminal forfeiture. That prosecution is ongoing.

25                                FIRST CLAIM FOR RELIEF
26          36.   Plaintiff incorporates the allegations of paragraph 1-35
27    above as though fully set forth herein.

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1           37.   Based on the above, plaintiff United States of America

2     alleges that the defendants constitute or are derived from proceeds

3     traceable to violations of 18 U.S.C. §§ 545 (customs violations),

4     1028A (aggravated identity theft), 1349 (conspiracy to commit mail

5     and wire fraud), and/or 2320 (international goods trafficking), which

6     are specified unlawful activities as defined in 18 U.S.C. §§

7     1956(c)(7)(A) and 1961(1)(B). The defendant funds are therefore

8     subject to forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 2323.

9                                SECOND CLAIM FOR RELIEF
10          38.   Plaintiff incorporates the allegations of paragraph 1-35

11    above as though fully set forth herein.

12          39.   Based on the above, plaintiff United States of America

13    alleges that the defendants constitute property involved in multiple

14    transactions or attempted transactions in violation of 18 U.S.C. §§

15    1956(a)(1)(A)(i), (a)(1)(B)(i), (h), and/or 1957(a), or property

16    traceable to such property, with the specified unlawful activity

17    being violations of 18 U.S.C. §§ 1349 (conspiracy to commit mail and

18    wire fraud) and/or 2320 (international goods trafficking). The

19    defendant funds are therefore subject to forfeiture pursuant to 18

20    U.S.C. § 981(a)(1)(A).

21

22          WHEREFORE, plaintiff United States of America prays:

23          (a)   that due process issue to enforce the forfeiture of the

24    defendants;

25          (b)   that due notice be given to all interested parties to

26    appear and show cause why forfeiture should not be decreed;
27          (c)   that this Court decree forfeiture of the defendants to the

28    United States of America for disposition according to law; and

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1           (d)   for such other and further relief as this Court may deem

2     just and proper, together with the costs and disbursements of this

3     action.

4      Dated: May 19, 2020                  NICOLA T. HANNA
                                            United States Attorney
5                                           BRANDON D. FOX
                                            Assistant United States Attorney
6                                           Chief, Criminal Division
                                            STEVEN R. WELK
7                                           Assistant United States Attorney
                                            Chief, Asset Forfeiture Section
8

9                                            /s/ Michael R. Sew Hoy
                                            MICHAEL R. SEW HOY
10                                          Assistant United States Attorney

11                                          Attorneys for Plaintiff
                                            UNITED STATES OF AMERICA
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